                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

       Plaintiff,

     v.                                                  Case No. 17-CR-124

MARCUS HUTCHINS,

      Defendant.


      PRETRIAL MOTIONS SCHEDULE ON SUPERSEDING INDICTMENT


       On July 11, 2017, the grand jury returned a six count indictment against Marcus

Hutchins. Hutchins pled not guilty to all counts. Pretrial motions have been briefed and jury

trial has not yet been scheduled pending resolution of the pretrial motions. However, on

June 5, 2018, the grand jury returned a superseding indictment against Hutchins adding four

new counts (Counts Three, Eight, Nine, and Ten) which were not part of the original

indictment. The superseding indictment also revised Count One of the original indictment.

Hutchins has entered a plea of not guilty to the superseding indictment. Hutchins has also

requested leave to file pretrial motions challenging the superseding indictment.

       IT IS ORDERED that Hutchins request to file new motions is GRANTED. He may

file motions challenging the new counts and allegations. Any new motions must be filed by

July 13, 2018; any responses must be filed by July 27, 2018; and any replies must be filed by

August 3, 2018.




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       Further, to avoid confusion of the record, any update to previously filed motion

should clearly and prominently indicate which motion it intends to replace. The original

motions will then be stricken and not considered.

       Further, briefing on Hutchins’ motion to suppress his post-arrest statement (Docket

# 55) is complete and not affected by this order.

       Further, Hutchins’ motion to dismiss for improper venue (Docket# 57) is

Withdrawn.

       Finally, Hutchins’ motion to dismiss Count Two ( Docket # 58) is Moot and Motion

to Dismiss Count Six in the original indictment will be Stricken and replaced with a new

motion to dismiss Count Seven of the Superseding Indictment.

       SO ORDERED

       Dated at Milwaukee, Wisconsin this 22nd day of June, 2018.

                                                    BY THE COURT

                                                    s/Nancy Joseph_____________
                                                    NANCY JOSEPH
                                                    United States Magistrate Judge




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